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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANY DIVISION

  UNITED STATES OF AMERICA,                     )
                                                )
                         Plaintiff,             )
                                                )
       v.                                       ) CAUSE NO. 4:18-cr-00010-SEB-VTW-6
                                                )
  JULIAN PEREZ,                                 )
                                                )
                         Defendant.             )

                  MOTION FOR RECONSIDERATION OF RELEASE ORDER

            COMES NOW the United States of America, by Zachary A. Myers, United States

  Attorney for the Southern District of Indiana, and Lauren Wheatley, Assistant United States

  Attorney, and respectfully moves this Honorable Court for reconsideration of the release order

  issued by U.S. Magistrate Judge Patricia Donahue, Central District of California, permitting the

  pretrial release of Julian Perez, pending this Court's review pursuant to 18 U.S.C. ' 3142(f). In

  support of its motion, the government would submit the following:

            1.    The defendant is named in the present Second Superseding Indictment dated

  December 9, 2021, charging him with conspiracy to distribute and to distribute

  methamphetamine, in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A)

  and 846 and Conspiracy to Commit Money Laundering, in violation of Title 18, United States

  Code, Sections 1956(a)(1)(A)(i) and 1956(h). The defendant first appeared before Magistrate

  Patricia Donahue in the Central District of California on December 7, 2022. The United States

  moved for the defendant=s detention pending trial pursuant to 18 U.S.C. ' 3142. The United

  States Probation Office prepared a pretrial services report.
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         2.      A detention hearing was held before Magistrate Judge Patricia Donahue in the

  Central District of California on December 7, 2022. Therein, the Government asked the

  Magistrate Court to take notice of the Second Superseding Indictment filed in this matter, the

  Pretrial Services Report recommending detention, the defendant’s immigrations status in this

  country and the fact that the defendant fled from FBI when they attempted to arrest the defendant

  on the outstanding warrant on this cause.

         3.      At the conclusion of the hearing, the Magistrate Court ordered the defendant

  released pending trial of this matter with a bond and a curfew. The Government was given a 48

  hour stay to appeal the Magistrate’s ruling.

         4.      The evidence submitted to the Magistrate Court in support of the Government=s

  motion for pretrial detention is summarized as follows:

                 A. Nature of the Charge and Punishment: The defendant is charged in the

  present Second Superseding Indictment with conspiracy to distribute methamphetamine and

  conspiracy to commit money laundering. The present second superseding indictment involves a

  felony narcotic offense, for which, pursuant to 21 U.S.C. ' 841(b)(1)(A), the defendant faces a

  penalty of not less than ten (10) years and not more than life, a fine of up to $10,000,000.00, and

  a term of supervised release of not less than five (5) years.

                 B. Defendant=s Involvement in the Present Charge: The defendant is alleged

  to have been a source of supply of crystal methamphetamine that was shipped by him from

  Washington to the Southern District of Indiana for resale. The defendant is alleged to have been

  responsible for shipping multiple pounds of crystal methamphetamine to the Southern District of

  Indiana. Often times, the defendant secreted the methamphetamine in vehicles he allegedly sold

  to the leader of the conspiracy Artie Fowler. (Fowler has since plead guilty and sentenced on this


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  cause.) Fowler also ran a car business that he primarily used to distribute large amounts of

  methamphetamine he received from the defendant. The defendant also conveyed

  methamphetamine to Fowler via package services such as FedEx and UPS as well. The

  defendant is also alleged to have committed money laundering. During the conspiracy and after

  he shipped the methamphetamine to Fowler, the defendant then conveyed bank account

  information for Fowler to pay the defendant for the methamphetamine shipped.

                 C. Defendant=s Ties and Risk of Flight: The defendant has no ties to the

  Southern District of Indiana and has been living in California for at least two years. During the

  course of the conspiracy, the defendant was living in and shipping methamphetamine from

  Washington. Furthermore, the defendant is a citizen of Mexico and is not a citizen of the United

  States. He has no contact with his family and his ties to California are less than three years old.

  The defendant has no valid employment and reports doing odd jobs for a church in California.

  Furthermore, he reported buying and selling cars. (See Exhibit A-PreTrial Services Report) This

  is an interesting fact given the nature of the case and the allegations they defendant “sold” and

  shipped cars to Fowler in Indiana that contained secreted methamphetamine. The defendant

  most recently showed his tendencies to flee in August of this year. On August 30, 2022, FBI

  agents and task force officers conducted surveillance on the defendant’s address in Bakersfield

  (the same address he gave to pretrial services). While conducting surveillance and attempting to

  serve the arrest warrant for the cause on the defendant, the defendant came to his residence,

  made eye contact with the agents at his residence, and drove away at a high rate of speed. The

  surveillance team tried to follow the defendant but was unable to keep up with him. Agents later

  returned to the defendant’s residence and spoke with the neighbors. They confirmed the

  defendant lived there. Agents made contact with the defendant’s daughter who informed them


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  that her father was self-employed and drove multiple vehicles, including the one in which he

  fled. Agents then asked the daughter to call her father and ask him to come home. The

  defendant did not return home after many hours. It wasn’t until December that the defendant

  attempted to turn himself in on the outstanding warrant. (See Exhibit B-FBI report)

         5.      These factors together demonstrate that there is no condition or combination of

  conditions which will reasonably assure the defendant=s appearance or the safety of any other

  person and the community. The defendant faces a potential 10-year minimum sentence, which

  alone provides incentive to not appear for trial. The risk of flight is further exacerbated by the

  defendant=s strong ties to Mexico, outside the District and the fact he fled from Federal Agents

  earlier this year. His involvement as the alleged source of supply of multiple pounds of

  methamphetamine also demonstrates that the defendant is a danger to the community. Lastly,

  the Government submits that the evidence presented by the defendant failed to rebut the

  presumption of detention provided under 18 U.S.C. '3142(e)(1) and (2). His only ties to the

  community are friends he has known for less than three years and he has no stable employment.

         6.      This Court has original jurisdiction over this matter; including the government's

  request for revocation of the release order, pursuant to 18 U.S.C. ' 3145(a)(1).

         WHEREFORE, the United States of America prays this Court reconsider and revoke the

  release order for defendant Julian Perez, order the defendant detained pending trial, and grant

  such other and further relief as the Court deems appropriate.

                                                Respectfully Submitted,

                                                ZACHARY A. MYERS
                                                United States Attorney

                                        By:     s/Lauren M. Wheatley
                                                 Lauren M. Wheatley
                                                 Assistant United States Attorney

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                                                 Office of the United States Attorney
                                                 101 N.W. M.L.K. Blvd., Suite 250
                                                 Evansville, IN 47708
                                                 Telephone: (812) 465-6475
                                                 Fax: (812) 465-6444
                                                 Email: Lauren.Wheatley@usdoj.gov

                                   CERTIFICATE OF SERVICE

         I hereby certify that on December 9, 2022, a copy of the foregoing Motion for

  Reconsideration was filed electronically. Notice of this filing will be sent to the following

  parties by operation of the Court’s electronic filing system. Parties may access this filing

  through the Court’s system.



                                        By:       s/Lauren Wheatley
                                                Lauren Wheatley, Assistant United States Attorney
                                                United States Attorney=s Office
                                                101 Northwest Martin Luther King, Jr. Blvd.
                                                Suite 250
                                                Evansville, IN 47708
                                                Phone: (812) 465-6475
                                                Fax: (812) 465-6444
                                                E-mail: lauren.wheatley@usdoj.gov




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